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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative         CASE NO.: 9:18-cv-80176-BB
   of the Estate of David Kleiman, and W&K Info
   Defense Research, LLC

           Plaintiffs,

   v.

   CRAIG WRIGHT

           Defendant.

                  MOTION AND NOTICE OF WITHDRAWAL OF COUNSEL

          Samantha M. Licata, Esq., of the law firm of BOIES SCHILLER FLEXNER LLP hereby

  notifies the Court and all parties that she will no longer be with the firm Boies Schiller Flexner

  LLP as of November 10, 2023 and is therefore withdrawing as counsel of record in this matter.

  Boies Schiller Flexner LLP remains as counsel of record for Plaintiff.

          NOTICE IS FURTHER GIVEN THAT no further papers, pleadings, motions,

  correspondence, communications, regarding the above-captioned action should be served on

  Samantha Licata. Any and all future CM/ECF notifications should remain directed towards the

  attorneys of record for Plaintiffs.

                                               Respectfully submitted,

                                               /s/ Samantha M. Licata
                                               SAMANTHA M. LICATA, ESQ.
                                               Florida Bar. No. 1024237
                                               slicata@bsfllp.com
                                               BOIES SCHILLER FLEXNER LLP
                                               100 S.E. Second Street, Suite 2800
                                               Miami, FL 33131
                                               Telephone: (305) 539-8400
                                               Counsel to Plaintiffs Ira Kleiman as
                                               Personal Representative of the Estate of
                                               David Kleiman and W&K Info Defense
                                               Research, LLC.
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 9, 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CMF/ECF system, which will send a notification of such filing

  (NEF) to all counsel of record.



                                             /s/ Samantha M. Licata
                                             SAMANTHA M. LICATA




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